                    Case 1:21-cr-00017-JPW Document 1 Filed 01/27/21 Page 1 of 1

                                                                                                                           FILED
AO 9 1 (Rev. 02/09) Criminal Comp laint                                                                             HARRISBURG, PA

                                      UNITED STATES D ISTRICT COURT                                                        JAN 2 7 2021
                                                                  for the                                    PER
                                                    Middle Di str ict of Pennsylvania                                      ~     TYCLERK

                  Un ited States of A meri ca                        )
                                 V.                                  )
                      KENELM SHIRK Ill                               )       Case No.    ) •.   2.( . . MJ · 0 I'2.
                                                                     )
                                                                     )
                             Defendant


                                                        CRIMINAL COMPLAINT

          I, the complainant in this case, state that the fo llow ing is tru e to the best of my knowledge and belief.

          On or about the date of         01/21 /2021   in the county of _ _Fr_a_n_kl_in_ _ in the _ _M_id_d_le_ _ District of

   Penns lvania       , the defendant v iolated              18             U . S.C. §   115a 1 B
, an offense descri bed as fol lows:

    Influ encing , impeding , or retaliating against a Federal official by threatening or injuring a fami ly member.




          T his crim inal compl aint is based on these facts :
I, Bruce C. Doupe Jr bei ng duly sworn , do hereby depose and state as follows :
  continued on attached statement of fa cts .




         i Continued on the attached sheet.

                                                                                 /Juuf IJ fl-~'1-!/:_______
                                                                                                 ~ ant 's sfw;ure

                                                                                  BRUCE C. DOU PE Jr, SPEC IAL AGENT/FBI
                                                                                                  Printed name and title

Sworn to before me and signed in my presence.



D ate:
                                                                                                    Judge's signature

City and state:                           Harrisburg , PA                     MARTIN C. CARLSON, U.S. MAG ISTRATE JUDGE
                                                                                                  Printed name and title
